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                                 U.S. District Court
                  Northern District of West Virginia (Martinsburg)
            CRIMINAL DOCKET FOR CASE #: 3:20-cr-00013-GMG-RWT-4


Case title: USA v. Morales, et al                         Date Filed: 03/17/2020


Assigned to: Chief Judge Gina M. Groh
Referred to: Magistrate Judge Robert
W. Trumble

Defendant (4)
Damanya Terelle Carter

Pending Counts                          Disposition
CONSPIRACY TO DISTRIBUTE
CONTROLLED SUBSTANCE
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                       Disposition
None

Highest Offense Level (Terminated)
None

Complaints                              Disposition
None



Plaintiff
USA                                         represented by Lara K. Omps-Botteicher
                                                           U.S. Attorney's Office - Mrt.
                                                           U.S. Courthouse
                                                           217 W. King Street, Suite 400
                                                           Martinsburg, WV 25401
                                                           (304) 262-0590
                                                           Fax: (304) 262-0591
                                                           Email: Lara.Omps-
                                                           Botteicher@usdoj.gov




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CM/ECF - U.S. District Court:wvnd                                       Page 2 of 2
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                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: United States Attorney


 Date Filed     # Docket Text
 03/17/2020     1 INDICTMENT with Forfeiture Allegation as to Terry Jimenez Morales (1):
                  counts 1,3,4; Jean Carlos Rivera Aponte (2): counts 1,3,4; Luis Manue Solero
                  Ortiz (3): counts 1,4-5; and Damanya Terelle Carter (4): count 2. Copy to USA,
                  USMS and USPO. (cwm) (Entered: 03/17/2020)
 03/17/2020     2 *SEALED* Indictment - Unredacted re: 1 Indictment as to Terry Jimenez
                  Morales, Jean Carlos Rivera Aponte, Luis Manue Solero Ortiz, and Damanya
                  Terelle Carter. (Attachments: # 1 Grand Jury Docket Sheet - Morales, # 2 Grand
                  Jury Docket Sheet - Aponte, # 3 Grand Jury Docket Sheet - Ortiz, and # 4 Grand
                  Jury Docket Sheet - Carter) (cwm) (Entered: 03/17/2020)
 03/17/2020     4 ORDER TO SEAL as to Terry Jimenez Morales (1), Jean Carlos Rivera Aponte
                  (2), Luis Manue Solero Ortiz (3) and Damanya Terelle Carter (4). Signed by
                  Magistrate Judge Robert W. Trumble on 03/17/2020. (cwm) (Entered:
                  03/17/2020)
 08/06/2020        Case unsealed as to Terry Jimenez Morales, Jean Carlos Rivera Aponte, Luis
                   Manue Solero Ortiz, Damanya Terelle Carter per Order to Seal deft arrested
                   (cmd) (Entered: 08/06/2020)



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